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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN




Adam Kanuszewski, et al.,

                                   Plaintiff(s),
v.                                                     Case No. 1:18−cv−10472−TLL−PTM
                                                       Hon. Thomas L. Ludington
Michigan Department of Health
and Human Services, et al.,

                                   Defendant(s),



                                NOTICE OF MOTION HEARING

   You are hereby notified to appear before District Judge Thomas L. Ludington at the United
States District Court, United States Post Office Building, 1000 Washington Avenue, Bay City,
Michigan. The following motion(s) are scheduled for hearing:

                Motion to Dismiss − #32
                Motion to Dismiss − #33
                Motion to Dismiss − #34

      • MOTION HEARING: August 21, 2018 at 03:00 PM



                                      Certificate of Service

   I hereby certify that this Notice was electronically filed, and the parties and/or counsel of
record were served.

                                               By: s/K Winslow
                                                   Case Manager

Dated: June 1, 2018
